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                                                                                              Exh A
   VirginiaTech/                                                        Student Conduct
                                                                        New Hall West, Suite 141 (0428}
   Division of Student   Affairs                                        Blacksburg, Virginia 24061
                                                                        540/231-3790 Fax: 540/231-3437
                                                                        E-mail: studentconduct@vt.edu
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   To:

   From:         Caroline Green & Kyle Rose, Student Conduct Coordinators

   Date:         March 24, 2016

   Subject:      Formal Hearing Decision (#2016-)

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   On Wednesday, March 23, 2016, our office held a university conduct hearing regarding
   allegations of violations of policy found in the Code of Student Conduct, outlined in the Ifokie
   Handbook. Below are the outcome for the following Student Code of Conduct charges and
   outcomes:

  P��•f                                                                                                   ·<.0uti!ome ·
  Abusive Conduct-Assault, Verbal/Non-verbal: Any use of words or acts that cause                         Responsible
  physical injury, or threaten any individual, or interfere with any individual's rightful
  actions, including but not limited to the following: Words or actions that would cause
  an individual reason to fear for his or her immediate safety. Words can constitute
  assault when they are accompanied by the ability to inflict immediate hann.

  Abusive Conduct - Battery: Any use of words or acts that cause physical injury, or          Responsible
  threaten any individual, or interfere with any individual's rightful actions, including but
  not limited to the following: The use of physical force against an individual or acts that
  cause physical injury.

  Alcoholic Beverage - Each student is expected to comply with the alcohol regulations        Responsible
  of the Commonwealth of Virginia and the university. Members of the university
  community are accountable for their decisions regarding the use of alcohol as well as
  behavior that occurs as a result of these decisions. All state and international laws apply
  to Virginia Tech students. Please refer to the Alcoholic Beverages Section for
  additional information.

  Disorderly or Disruptive Conduct - Engaging in disorderly or disruptive conduct that:        Not
  disturbs the peace, interferes with the performance of the duties of public/civil officials, Responsible
  interferes with the rights and/or activities of others or interferes with the orderly
  functioning of the university and/ or the perfonnance of the duties of university
  personnel, including but not limited studying, teaching, research University
  administration, and blocking entrances and egress.

                                          ----------· Invent the Future

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